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                                                6 Attorneys for Defendant GARFIELD BEACH CVS, L.L.C.
                                                  erroneously sued as CVS Pharmacy, Inc.
                                                7
                                                8                            UNITED STATES DISTRICT COURT
                                                9
 LA FOLLETTE, JOHNSON, DeHAAS, FESLER & AMES




                                                            CENTAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISON
                                               10
                                               11
                                               12 RUTH GEARING,                                CASE NO.: 8:19-CV-778

                                               13               Plaintiff,                     [Removal from Superior Court of California,
                                                                                               Orange County, Case No. 30-2019-
                                               14         vs.                                  01059332-CU-PO-CJC]
                                               15 CVS PHARMACY, INC., A Rhode                  NOTICE OF REMOVAL PURSUANT TO
                                               16 Island Corporation; AND DOES 1               28 U.S.C. §§ 1332, 1441 AND 1446
                                                  THROUGH 10, INCLUSIVE,
                                               17                                              [Filed concurrently with Civil Cover Sheet,
                                                              Defendants.                      Notice of Financial Interest, Declaration of
                                               18                                              Brian W. Birnie, Declaration of Melanie
                                               19                                              Luker and Exhibits]

                                               20
                                               21 TO THE CLERK OF THE UNITED STATES DISTRICT COURT OF THE
                                               22 SOUTHERN DISTRICT OF CALIFORNIA, WESTERN DIVISION:
                                               23         PLEASE TAKE NOTICE that Defendant GARFIELD BEACH CVS, L.L.C.
                                               24 erroneously sued as CVS Pharmacy, Inc. (hereinafter “Defendant”), hereby removes the
                                               25 state court action described below to this the United States District Court for the Southern
                                               26 District of California pursuant to 28 U.S.C. §§ 1332(a), 1441(a)-(b), and 1446. Defendant
                                               27 provides the following “short and plain statement of the grounds for removal” pursuant to
                                               28 28 U.S.C. § 1446(a).
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1.40693\0003-                                                   NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332, 1441 AND 1446
bwb-pld-ntc of
removal
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